Case 8:11-cr-00323-JSM-TBM Document 858 Filed 01/27/16 Page 1 of 2 PageID 5279




                           UNITED STATES DISTRICT CO U RT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAM PA DIVISION

 UNITED STA T ES OF AMERICA,

 v.         C A S E NO. 8:11-CR-323-T-17TBM

 RETSIDISTW E GRIFFITH.

                                    /


                                         O R D ER


       This cause is before the Court on:

        Dkt. 857      Unopposed Motion to Exonerate Bond



        Defendant Retsidistwe Griffith moves to exonerate the surety Appearance Bond
 (Dkt. 104) posted in this case, and enter an Order directing the Clerk of Court to
 discharge the surety from the bond posted in this matter.


       The Government does not oppose Defendant Griffith’s Motion.


       After consideration, the Court grants Defendant’s Unopposed Motion to
 Exonerate Bond. Accordingly, it is


       O RD ER ED that Defendant Griffith’s Unopposed Motion to Exonerate Bond (Dkt.
 857) is granted, and the Clerk of Court shall discharge Defendant’s surety Frances
 Parish, Continental Heritage Insurance Company, by way of AAA Kyle’s Qwik Bail
 Bonding, 600 34th Street South, St. Petersburg, FL 33711 from the bond posted.
Case 8:11-cr-00323-JSM-TBM Document 858 Filed 01/27/16 Page 2 of 2 PageID 5280




 Case No. 8:11-CR-323-T-17TBM



        DONE and O RD ER ED in Chambers in Tampa, Florida on this ^ ^ clav of
 January, 2016.




 All parties and counsel of record




                                         2
